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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Seema Madhavan
                              Plaintiff,
v.                                                 Case No.: 1:22−cv−01350
                                                   Honorable Edmond E. Chang
Blistex, Inc.
                              Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, May 26, 2022:


        MINUTE entry before the Honorable Edmond E. Chang: On review of the status
report, R. 18, as well as the pleadings, discovery is stayed pending a decision on the
dismissal motion [13]. But the defense is on explicit notice of the Plaintiff's proposed
discovery topics, see R. 18 at 5, and thus defense counsel must ensure that the Defendant
has been advised on its duties with regard to litigation holds and preservation of records.
The briefing schedule is ongoing. The tracking status hearing of 05/27/2022 is reset to
08/05/2022 at 8:30 a.m., but to track the case only (no appearance is required, the case
will not be called). Emailed notice (mw, )




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